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EXHIBIT 2

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|.I-.u l'lUl . fp *tu 70 -_._..r

h Detaiis

 

What do you think |'m going to do
|‘ii tell you
But first »

She needs to know she ls not in any
danger at all

 

’ Not just them

The rest l will not text but it should be
obvious to where this is headed

And i'm sure they mean a lot to her

Or vice versa

After i am finished and after you hand me
over to the proper authorities, you -wi||
take ownership of my possessions, and
aooounts, i will not be needing them.

However one phone call can stop all of
this

Frlday 11:08 Pl'vi

Who said anything about ]al|

 

Vesta everything l've said to you has had
a double meaning, the obvious one does
not show the intent

Fiead over everything

 

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Detaiis

 

 

 

Sure why not

F’ass it along and i have everything l need .
to get it done

And l don't care about myself so i have
nothing to lose, i'm at peace with my
decision, when i start it will be to late to
stop. i. Wi|l be at peace when this ends,
any more outside people brought into this
pain vvi|l` make resolving the matter more
hectic: than it has to be

| just want peace

And Damon i'm drunk

So drunk l need to stop texting
Good night

 

Today, l‘i| let you know before the curtain
is ciosed, but it will never be done before
the final act. How does it make you feel
that with the conditions told to her that
she doesn't care, does it make you
question your relationship with her?

l won't stop until i talk with-her one on
one

Unti| then the answer lies within the
chon.is of drowning pooi’s song bodies

Remember l don't dothings half ass, go
big or go home and l have nothing left to
lose so l‘m going home

But heil in drunk take me seriously or light
is up to everyone else

 

 

